               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:15 cr 85-7


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )
                                              )                ORDER
HOKE BENJAMIN CALEB HAYES,                    )
                                              )
                  Defendant.                  )
____________________________________          )


        THIS MATTER is before the undersigned pursuant to a Motion to

Reconsider Unopposed Motion to Continue Defendant’s Rule 11 Hearing (#374).

At the call of Defendant’s case on for hearing on June 17, 2016, it appeared that

neither the Defendant nor his attorney were present for the Rule 11 proceeding that

had been scheduled.     The Clerk presented to the undersigned the Motion to

Reconsider(#374). Due to the failure of defendant and his counsel to appear and

the number of cases that were presented on the court calendar for June 17, 2016, the

Court was left with no choice other than to grant the motion(#374).

                                     ORDER

        IT IS, THEREFORE, ORDERED that the Court will reluctantly ALLOW

the Motion to Reconsider Unopposed Motion to Continue Defendant’s Rule 11

Hearing (#374).
                                             Signed: June 23, 2016




                                         1

      Case 1:15-cr-00085-MR-WCM    Document 383         Filed 06/23/16   Page 1 of 1
